         Case 3:21-cv-01948-KM Document 97 Filed 03/03/23 Page 1 of 7




                 UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


 MICHAEL LEE, as the
 Administrator of the Estate of                    CIVIL ACTION – LAW
 RAVEN E. LEE, AND
                                              JURY TRIAL DEMANDED
 ANDERSON BASTONE, as the
 Administrator of the Estate of                      NO.: 21-CV-1948
 CHAZ BASTONE

              PLAINTIFFS,
       v.

 GOLF TRANSPORTATION, INC,
 OCONNOR TRUCKING, INC.,
 JP LOGISTICS, INC.,UNITED
 NATURAL FOODS INC.,
 UNFI TRANSPORT LLC,
 and
 COYOTE LOGISTICS, LLC

              DEFENDANTS.


            MOTION FOR LEAVE TO WITHDRAW AS COUNSEL
      AND NOW COMES, Petitioner, Edward J. Ciarimboli, Esquire, on behalf of

Fellerman & Ciarimboli Law, P.C. to file the instant Motion for Leave to Withdraw

as Counsel for Plaintiffs, and avers as follows:
           Case 3:21-cv-01948-KM Document 97 Filed 03/03/23 Page 2 of 7




      1.      Petitioner, Edward J. Ciarimboli, Esquire is a Partner at Fellerman &

Ciarimboli Law, P.C., located at 183 Market Street, Suite 200, Kingston, Luzerne

County, PA 18704.

      2.      Plaintiff, Michael Lee, is a competent adult individual who resides at

9100 Grayling Drive, Las Vegas, Clark County, Nevada 89134.

      3.      Plaintiff, Anderson Bastone, is a competent adult individual who

resides at 220 West Branch Avenue, Apartment 217, Pine Hill, NJ 08021.

      4.      The above referenced action is currently pending in the United States

District Court for the Middle District of Pennsylvania at Docket No. 21-CV-1948.

      5.      The action arises out of a commercial motor vehicle accident that

occurred on October 7, 2020 in Lackawanna County, Pennsylvania.

      6.      Plaintiffs and Fellerman & Ciarimboli Law, P.C., entered into

Contingent Fee Agreements through which Plaintiffs agreed that they would be

represented by Fellerman & Ciarimboli Law, P.C. who would pursue claims for the

fatal injuries and damages that Plaintiffs’ Decedents sustained as a result of the

October 7, 2020 crash.

      7.      Attorneys Edward J. Ciarimboli and Corey S. Suda, an Associate at

Fellerman & Ciarimboli Law, P.C., entered their appearances in this matter on behalf

of Plaintiffs Lee and Bastone.
           Case 3:21-cv-01948-KM Document 97 Filed 03/03/23 Page 3 of 7




      8.       On February 23, 2023, Attorney Mark S. Rosenberg and Plaintiff,

Michael Lee sent an email to Fellerman & Ciarimboli, PC, advising that the Firm

was discharged and stating that Mr. Lee had chosen Michael J. O’Neill, Esquire to

represent him as Administrator of his daughter’s estate in this matter.

      9.       Pursuant to Pennsylvania Rule of Professional Conduct 1.16(a)(3), a

lawyer “shall withdraw from the representation of a client if the lawyer is

discharged.”

      10.      On February 24, 2023, the Piazza Law Group filed its Notice of

Appearance on behalf of Plaintiff, Anderson Bastone.

      11.      On February, 24, 2023, the Piazza Law Group and Anderson Bastone

sent Fellerman & Ciarimboli an email that stated: “[i]n accordance with your request

to withdraw, this is to confirm that the Fellerman & Ciarimboli firm is relieved of

further involvement in the above matter. You may withdraw your appearance.”

      12.      Pursuant to Pennsylvania Rule of Professional Conduct 1.16(b)(1), a

lawyer “may withdraw from the representation of a client if withdrawal can be

accomplished without material adverse effect on the interests of the client.” As

Plaintiff Bastone has chosen new counsel, withdrawal is permitted under this

subsection of the Rules.

      WHEREFORE, the undersigned counsel requests that this Honorable Court

grant the Firm’s Motion for Leave to Withdraw the appearances of Edward J.
          Case 3:21-cv-01948-KM Document 97 Filed 03/03/23 Page 4 of 7




Ciarimboli and Corey S. Suda as Counsel for Plaintiffs Lee and Bastone in this

matter.

                               Respectfully submitted,


                               FELLERMAN & CIARIMBOLI LAW, P.C.




                               By: _____________________________
                                    Edward J. Ciarimboli, Esquire


Date: March 3, 2023
         Case 3:21-cv-01948-KM Document 97 Filed 03/03/23 Page 5 of 7




                  UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


 MICHAEL LEE, as the
 Administrator of the Estate of               CIVIL ACTION – LAW
 RAVEN E. LEE, AND
                                            JURY TRIAL DEMANDED
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 COYOTE LOGISTICS, LLC

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                             CERTIFICATE OF SERVICE

      I, Edward J. Ciarimboli, Esquire hereby certify that on the 3rd day of March

2023, a true and correct copy of Petitioner’s Motion for Leave to Withdraw as

Counsel was served electronically via CM/ECF system to the following

participants in this case:
          Case 3:21-cv-01948-KM Document 97 Filed 03/03/23 Page 6 of 7




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         Case 3:21-cv-01948-KM Document 97 Filed 03/03/23 Page 7 of 7




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                              FELLERMAN & CIARIMBOLI LAW, P.C.




                              By: _____________________________
                                  Edward J. Ciarimboli, Esquire
